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                              THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


Cincinnati Insurance Co., et al.                           Case No.
                                                           Judge:
                v.                                         Corporate Disclosure Statement

Andy Rock F.A.S, LLC, et al.


        Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7 .1.1: Any non-
governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
held company that "controls, is controlled by, or is under common control with a publicly controlled
corporation." A party must file the statement upon filing a complaint, answer, motion, response or other
pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
throughout the pendency of this case.

        In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

        Defendant Cadogan Tate a/k/a Cadogan Tate New York Limited

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

             YES          ✓   NO

        If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:



2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome?

             YES          ✓   NO

        If the answer is YES, list the identity of such corporation and the nature of the financial interest.




        Isl Christopher R. Pettit                                    1212912021
        Signature of Counsel                                         Date


                                          "Certificate of Service"

             COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                  TO UPDATE AND SUPPLEMENT THIS STATEMENT
